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6
     Attorneys for the United States
7
                               UNITED STATES DISTRICT COURT
8
                              SOUTHERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA                         Case No. 18CR04683-GPC
10
                         Plaintiff,                   NOTICE OF APPEARANCE
11
                         v.
12
     Jacob Bychak, et al,
13
                         Defendant.
14
15
     TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
16
           I, the undersigned attorney, enter my appearance as filter counsel for
17
     the United States in the above-captioned case.          I certify that I am admitted to
18
     practice in this court or authorized to practice under CivLR 83.3.c.3-4.
19
           The following government attorneys (who are admitted to practice in this court
20
     or authorized to practice under CivLR 83.3.c.3-4) are also associated with this case,
21
     should be listed as filter counsel for CM/ECF purposes, and should receive all
22
     Notices of Electronic Filings relating to activity in this case:
23
                  Name
24                Nicholas Plichak.
25
26
27
28
 Case 3:18-cr-04683-GPC Document 458 Filed 06/01/22 PageID.7122 Page 2 of 2




1          Effective this date, the following attorneys are no longer associated with this
2    case and should not receive any further Notices of Electronic Filings relating to activity
3    in this case (if the generic “U.S. Attorney CR” is still listed as active in this case in
4    CM/ECF, please terminate this association):
5                 Name
6                 None.
7
8
9          Please feel free to call me if you have any questions about this notice.
10         DATED: June 1, 2022.
                                                   RANDY S. GROSSMAN
11                                                 United States Attorney
12                                                 s/ Nicholas Pilchak
                                                   Nicholas Pilchak
13
                                                   Assistant U.S. Attorney
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